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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                            District of

                  United States of America                      )
                             v.                                 )
                                                                )         Case No.   7:24-mj-00364
                                                                )
                                                                )
                                                                )                                       United States Courts
                                                                )                                     Southern District of Texas
                           Defendant(s)                                                                        FILED
                                                                                                           March 09, 2024
                                              CRIMINAL COMPLAINT                                   Nathan Ochsner, Clerk of Court
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                                             in the county of                                 in the
                       District of                          , the defendant(s) violated:
            Code Section                                                   Offense Description




         This criminal complaint is based on these facts:




              Continued on the attached sheet.




                                                                                           Printed name and title
   Sworn to telephonically and signed electronically



Date:                                @ 2:24 p.m.


City and state:
                                                                                           Printed name and title
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On or about Friday, March 8th, 2024, in Starr County, Texas, within the Southern District of Texas, Natalie
Yael ISLAS (The defendant) did knowingly and willfully: falsify and conceal and cover up by a trick,
scheme, and device, material facts; and made materially false, fictitious, and fraudulent statements or
representations in a matter within the jurisdiction of the executive branch of the United States, namely, the
United States Department of Homeland Security, Customs and Border Protection, by intentionally and
willfully representing that minor J.O.S. was a United States Citizen, when in truth and in fact, minor J.O.S.
is an undocumented alien without status to enter or remain in the United States.

On or about Friday, March 8th, 2024, at approximately 10:22 pm, Natalie Yael ISLAS (The defendant), a
United States citizen, attempted to bring into the United States through the Rio Grande City, Texas, Port of
Entry (POE), undocumented alien minor J.O.S.
Upon reaching primary inspection at the POE, ISLAS attempted to enter with J.O.S. At pedestrian primary,
ISLAS presented a State of Texas birth certificate for her minor U.S. citizen sibling (initials D.Y.I.), and
represented to CBP Officers that J.O.S. was her minor U.S. citizen sibling D.Y.I. as indicated in the Texas
Birth Certificate.
CBP Officers noticed that the minor appeared nervous, and referred ISLAS and the minor to secondary
inspection for further checks. In secondary inspection, ISLAS informed CBP Officers that she did not
know who the minor was, and that it was not her sibling D.Y.I.
ISLAS was then placed in custody and provided her Miranda warnings, and she agreed to speak with
officers. ISLAS admitted to knowing the minor J.O.S. did not have any legal documentation to enter the
United States and that she was using her minor sibling's birth certificate to facilitate J.O.S.'s illegal entry
into the United States. If successful, and once in the United States, she was to continue walking and a
vehicle was going to pick both of them up. She stated she was going to be compensated $800 dollars.
CBP conducted record checks that showed J.O.S. has no legal status to enter or remain in the United States.
